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 Public Toilet Advocacy Toolkit                                                                                                  Public Hygiene Lets Us Stay Human phlush.org



                                                                                            The Americans with Disabilities Act (ADA) specifies protection to
9. Understand Codes and Regulations                                                         disabled people in retail establishments and in local and state
                                                                                            government facilities. In other areas of the public sphere - transit
As a public toilet advocate, you need to be aware of building and                           systems, pedestrian areas of the city, commuter routes for cyclists
plumbing codes, disability access requirements, historic design                             and walkers - regulations that protect the basic right to a toilet are
guidelines, permitting procedures and other regulations that guide the                      weak or non-existent.
design, construction, and use of a public toilet facility. Some of these
regulations operate at the federal level, others at the state and local
levels. Some are mandatory, others voluntary but subject to review.                         Building and Plumbing Codes
Most documentation for your area can be found online, in the
reference section of your local library or through inquiries to the                         Local governments issue permits for the construction and renovation
relevant public officials.                                                                  of buildings according to prevailing building and plumbing codes.
                                                                                            Codes are generally adopted by states and may apply statewide,
As for the rights of restroom users, the laws are fairly inconsistent in                    although enforcement is done at the local level. The section of the
the United States. The Occupational Safety and Health                                       building code that applies to toilet facilities is the plumbing code.
Administration (OSHA) of the US Department of Labor ensures that                            Individual states generally follow one of three code models: the
employees “will not suffer the adverse health effects that can result if                    International Plumbing Code (IPC), the Uniform Plumbing Code
toilets are not available” when needed. The rights for workers under                        (UPC), or the National Standard Plumbing Code (NSPC). Plumbing
OSHA are specified in the Code of Federal Regulations 29.1 Note                             codes based on building occupancy determine the number and type
that as soon as workers are off the job, they are no longer protected                       of toilet facilities required. Commercial code enforcement applies to
under OSHA. There are far fewer protections for the rights of the                           all buildings where the public has access for any commercial reason.
general public to use toilets away from home. 2
                                                                                            Water Use Regulations
The number and type of toilets required in a building is determined by
the occupancy stipulated for the building. Consequently, building and                       Worsening drought conditions in the western portion of the US are
plumbing codes relate to the rights of toilet users. Restroom access                        bringing new state and local regulations regarding water use. For
is building-related; health and other codes and one’s status as a                           example, the California Energy Commission has set new limits for
customer should not apply. However, businesses have been effective                          2016 and beyond. All commercial and residential toilets sold are
in declaring homeless individuals non-customers and therefore                               required to have water use of not more than the following: 1.28
denying them the access enshrined in the building codes. Although                           gallons per toilet flush, 0.125 gallons per urinal flush, and 0.5 gallons
codes are usually adopted at the state level, they are enforced at the                      per minute from public lavatory faucets. In contrast with home
local level. If someone is denied access to the restroom in a                               bathrooms, toilets alone use an estimated 44% of water use in public
business, the city code enforcement officer is the person to contact.                       restroom. According to Environmental Protection Agency estimates,

1 29 CFR 1910.141. http://www.gpo.gov/fdsys/granule/CFR-2011-title29-vol5/CFR-2011-title29-vol5-sec1910-141. Accessed October 23, 2015 and 29 CFR 1926.51       http://
www.gpo.gov/fdsys/granule/CFR-2011-title29-vol8/CFR-2011-title29-vol8-sec1926-51. Accessed October 23, 2015.
2 Robert Brubaker and Carol McCreary, "US Public Health Mandates and the Restroom Problem in America: A Call To Action," (presentation at World Toilet Summit, Delhi, November 1,

2007), http://www.phlush.org/wp-content/uploads/2009/02/americanrestroomcalltoactionpaper.pdf, accessed October 9, 2015.
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 the Unites States has 27 million automatic flush toilets with no-touch                         main airports of Los Angeles and San Francisco would save more
 flush sensors. There is growing concern about the current lack of                              than 80 million gallons of water a year.5
 water-saving standards related to sensor accuracy.3
                                                                                                Historic Design Guidelines
                                                       A 2010 study compared
                                                       water use on one floor of                Historic design guidelines help establish a common understanding of
                                                       a Florida office building
                                                                                                the character of a city's oldest districts. Preserving finite historic
                                                       before and after the                     resources maintains a community's identity and can leverage
                                                       installation of automatic
                                                                                                economic development through heritage tourism. Written for
                                                       sensors to control water
                                                                                                permitting authorities and property owners, these standards and
                                                       flow. Researchers found                  recommendations apply to all properties within a designated district.
                                                       that “the total average
                                                                                                They may include anything from removal or demolition of structures
                                                       daily demand of the                      to the addition of a window, door, or sign. Citizen advocates should
                                                       men’s and ladies’
                                                                                                take local historic design guidelines into careful account before
                                                       restrooms almost
                                                                                                making any specific proposal. Failure to observe the character of an
                                                       doubled from 654 to                      historic district can bring opposition from respected neighborhood
                                                       1,243 gallons per day
                                                                                                leaders.
                                                       when all faucets, urinals,
                                                       and toilets were
                                                       converted to sensor-                     Access for People with Special Needs
                                                       operated units.” They
                                                       attributed this to the                   The Americans with Disabilities Act of 1990 is a broad civil right law
                                                       “phantom flushes” set off                that not only prohibits discrimination based on disabilities but also
                                                       if a user lays toilet paper              imposes accessibility requirements on public accommodations such
                                                       on the seat or makes                     as toilets. The ADA was updated in 2010. There are numerous tools
   Sensors on toilets are responsible for              unpredictable moves.4                    available online to help architects and designers of toilet facilities
‘phantom flushes’ and increased water use.            The removal of automatic                  comply with the law. Among them are A Practical Guide to 2010
                                                      sensors from toilets in the




 3 Sara Jerome,“‘Phantom Flush' In Public Restrooms May Be Hurting Conservation,” Water Online, September 29, 2015, http://www.wateronline.com/doc/phantom-flush-in-public-
 restrooms-may-be-hurting-conservation-0001, accessed October 1, 2015.
 4 Bill Gauley and John Koeller, Sensor-Operated Plumbing Fixtures Do They Save Water? March 2010, http://www.map-testing.com/assets/files/hillsborough~study.pdf, accessed
 September 27, 2015.
 5 Marika Shioiri-Clark. “How phantom flushing wastes water, and how to fix it.” Los Angeles Times (Op-Ed), May 15, 2015. http://www.latimes.com/opinion/op-ed/la-oe-shioiri-clark-
 drought-phantom-flushes-20150510-story.html, accessed September 27, 2015.
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ADA-Compliant Restroom Design6 and the ADA Checklist for Existing                               of the general public gather.
Facilities - Priority 3 Toilet Rooms.7                                                          Known in the United Kingdom as
                                                                                                ‘direct access’ toilets, they are
Important standards of physical accessibility are also found in the                             highly efficient in terms of use.
Accessible and Usable Buildings and Facilities of the American                                  Without extra doors they are easier
National Standards Institute (ANSI). ANSI is a neutral forum for the                            to enter. They do not have the
development of policies and serves as a watchdog for standards                                  shared semi-public space where
development. ANSI coordinates voluntary standards but does not                                  LGBT people and gender non-
develop them.                                                                                   conforming individuals may face
                                                                                                harassment. Older facilities that
In Publicly Accessible Toilets: An Inclusive Design Guide 8, Gail Knight                        have men’s and women’s rooms
and Jo-Anne Bichard offer practical solutions to making restrooms                               need be fitted with at least one
accessible to people with disabilities. While the work addresses some                           family restroom that can                        The term ‘all-gender’ has replaced
requirements specific to the United Kingdom, the full color                                     accommodate single users,                        ‘unisex’ and ‘gender-neutral’ in
illustrations and avoidance of the technical language of codes are                              families and people with mobility                  jurisdictions such as Seattle.
helpful.                                                                                        devices and caregivers.


All-gender and family toilets                                                                   In the United States, the federal law known as Title IX prohibits
                                                                                                discrimination on the basis of sex in any federally funded education
                                                                                                program or activity. The Departments of Education and Justice have
Architects, urban planners, and building code officials have long
                                                                                                stated that under Title IX, discrimination based on a person’s gender
failed to anticipate the needs of contemporary society. Until recently
                                                                                                identity, a person’s transgender status, or a person’s nonconformity
most new restrooms were built in a traditional, mid-20th century style
                                                                                                to sex stereotypes constitutes discrimination based on sex. As such,
designed to serve conventional families. Little effort was made to
                                                                                                prohibiting a student from accessing the restrooms that matches his
accommodate single parents, same-sex parents, or anyone with an
                                                                                                gender identity is prohibited sex discrimination under Title IX. There
opposite-sex caregiver.
                                                                                                is a public interest in ensuring that all students, including transgender
                                                                                                students, have the opportunity to learn in an environment free of sex
Today, gender non-conforming people who are at the forefront of the
                                                                                                discrimination. In turn, many state education departments are issuing
toilet revolution understand that facilities need private all-gender
                                                                                                guidelines that call for all-gender toilet rooms.
stalls that can be entered directly from public spaces. Therefore,
PHLUSH recommends this type of stall for all sites where members

6 Pitts, Jeanette Fitzgerald. A Practical Guide to 2010 ADA-Compliant Restroom Design. Architectural Record Continuing Education Center. September 2014, http://

continuingeducation.construction.com/article.php?L=314&C=926&P=1, accessed October 12, 2015.
7 Institute for Human Centered Design. The ADA Checklist for Existing Facilities - Priority 3 Toilet Rooms, http://www.adachecklist.org/doc/priority3/p3.pdf, accessed October 12, 2015.
8 Gail Knight and Jo-Anne Bichard, ‘'Publicly Accessible Toilets An Inclusive Design Guide,’’ Royal College of Art, Helen Hamlyn Centre for Design, 2011, http://www.hhc.rca.ac.uk/
CMS/files/Toilet_LoRes.pdf, accessed October 12, 2015.
